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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

LIGTEL COMMUNICATIONS, INC.,

              Plaintiff,

       v.                                         Case No. 1:20-cv-00037-HAB-SLC

BAICELLS TECHNOLOGIES INC.;
BAICELLS TECHNOLOGIES NORTH
AMERICA, INC.,

              Defendants.


               BAICELLS TECHNOLOGIES NORTH AMERICA, INC.’S
                    CORPORATE DISCLOSURE STATEMENT
       Pursuant to Federal Rule of Civil Procedure 7.1(a), Defendant Baicells Technologies

North America, Inc. provides the following Corporate Disclosure Statement:

       1.     The parent companies of the corporation: Baicells Technologies Co., Ltd.

       2.     Any publicly held company that owns ten percent (10%) or more of the
              corporation:

              None.


                                           Respectfully submitted,

                                           ICE MILLER LLP


                                           /s/ Adam Arceneaux
                                           Adam Arceneaux, Attorney No. 17219-49
                                           Eric J. McKeown, Attorney No. 27597-49
                                           Jessa DeGroote, Attorney No. 358487-49

                                           Attorneys for Defendants, Baicells Technologies
                                           Inc. and Baicells Technologies North America,
                                           Inc.
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                              CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that the foregoing has been served on all
counsel of record this 12th day of February, 2020, by the Court’s electronic filing system.


                                         /s/ Adam Arceneaux
                                         Adam Arceneaux

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